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Jonathan Schwalb, Esq.
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U.S. Bank Trust National Association, as Trustee of Chalet Series III Trust
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
----------------------------------------------------------------X
                                                                    :   CASE NO.: 17-22296
                                                                    :
                                                                    :   CHAPTER: 13
                                                                    :
                                                                    :   HON. JUDGE.:
  IN RE:
                                                                    :   JOHN K. SHERWOOD
  Eric Mattson                                                      :
                                                                        HEARING DATE:
                                                                    :
                                                                        JUNE 13, 2019 AT 8:30 AM
                                                                    :
                                                                    :
                                                                    :
  Debtor

  ------------------------------------------------------------X

             NOTICE OF OBJECTION TO CONFIRMATION OF MODIFIED PLAN

        PLEASE TAKE NOTICE that SN Servicing Corporation as servicer for U.S. Bank

Trust National Association, as Trustee of Chalet Series III Trust (“Secured Creditor”), the holder

of a mortgage on real property of the debtor(s), by and through its undersigned attorneys, hereby

objects to the confirmation of the Modified Chapter 13 Plan on grounds including:


    1. Debtor(s) plan fails to provide for the claim of Secured Creditor. The objecting creditor is
       due arrears of $373,055.46 which is set forth in the filed Proof of Claim (1-1).

    2. Debtor(s) plan as proposed appears to contemplate that there will be no cure for the
       prepetition arrears of Secured Creditor unless or until a loan modification is achieved.
       The requirements of 11 U.S.C. § 1322(d)(2) do not provide for payment over a period
       longer than 5 years. Moreover, the debtor(s) are obligated to cure the arrears due to the
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      objecting creditor within a reasonable time pursuant to 11 U.S.C § 1322 (b)(5).
      Accordingly, in the event that the ongoing loss mitigation efforts are not successful, the
      plan fails to satisfy the confirmation requirements of 11 U.S.C. § 1325(a)(1).

   3. Debtor(s) seeks to modify the rights of Secured Creditor, which is the holder of a claim
      secured only by a security interest in real property that is the principal residence of the
      debtor(s). Plan fails to provide for adequate protection payments if the Court approved
      loss mitigation.

   4. Debtor(s) proposed plan fails to comply with the requirements of the Bankruptcy Code
      and is not proposed in good faith.

   5. Debtor(s) proposed plan does not provide that Secured Creditor retain its lien.

   6. Debtor(s) proposed plan is not feasible.

   7. Debtor(s) proposed plan fails to comply with other applicable provisions of Title 11.


      In the event any portion of the claim is deemed to be an unsecured claim as defined by
   the Code, objection is hereby made pursuant to 11 U.S.C § 1325(a)(4) and 1325(b), et seq.
   unless the plan provides for full payment of the claim.




                                                              FRIEDMAN VARTOLO LLP
                                                             85 Broad Street Suite 501
                                                             New York, New York 10004
                                                             Attorneys for Secured Creditor,

                                                             By: /s/ Jonathan Schwalb
                                                             Jonathan Schwalb, Esq.

      Date: May 21, 2019
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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     Jonathan Schwalb, Esq.
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     85 Broad Street, Suite 501
     New York, New York 10004
     P: (212) 471-5100
     SN Servicing Corporation as servicer for             Case No.:              17-22296-JKS
                                                                             ____________________
     U.S. Bank Trust National Association, as
     Trustee of Chalet Series III Trust                   Chapter:                    13
                                                                             ____________________


     In Re:                                               Adv. No.:          ____________________
     Eric Mattson                                         Hearing Date:   JUNE  13, 2019 AT 8:30 AM
                                                                            ____________________

                                                          Hon. Judge:          John K. Sherwood
                                                                             ____________________




                                     CERTIFICATION OF SERVICE

1. I, ____________________________
       Kimberly Barbour            :

           ☐ represent ______________________________ in the this matter.

           ☐ am the secretary/paralegal for ___________________________,
                                             Jonathan Schwalb, Esq.      who represents
           ______________________________
           SN Servicing Corporation       in the this matter.

           ☐ am the ______________________ in the this case and am representing myself.



2.         On _____________________________
                       May 21, 2019        , I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
              - Notice of Objection to Confirmation of Plan



3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      _______________________
           May 21, 2019                                  /s/Kimberly Barbour
                                                         __________________________________
                                                         Signature
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 Name and Address of Party Served       Relationship of               Mode of Service
                                       Party to the Case
Eric Mattson                                               ☐ Hand-delivered
8 Wenonah Ave.
                                     Debtor(s)             ☐ Regular mail
Oakland, NJ 07436
                                                           ☐ Certified mail/RR
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

Scott D. Sherman                                           ☐ Hand-delivered
MINION & SHERMAN
33 Clinton Road                     Debtor(s) Attorney     ☐ Regular mail
Suite 105                                                  ☐ Certified mail/RR
West Caldwell, NJ 07006
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

Marie-Ann Greenberg                                        ☐ Hand-delivered
Chapter 13 Standing Trustee
30 Two Bridges Rd                   Trustee                ☐ Regular mail
Suite 330                                                  ☐ Certified mail/RR
Fairfield, NJ 07004
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)

U.S. Trustee                                               ☐ Hand-delivered
US Dept of Justice
Office of the US Trustee            U.S. Trustee           ☐ Regular mail
One Newark Center Ste 2100                                 ☐ Certified mail/RR
Newark, NJ 07102
                                                           ☐ E-mail
                                                           ☐ Notice of Electronic Filing (NEF)
                                                           ☐ Other _____________________
                                                             (as authorized by the court *)



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